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     Fill in this information to identify the case:

      United States Bankruptcy Court for the:


       Southern
      ____________________              Texas
                           District of _________________
                                            (State)

                                                                11
      Case number (If known): _________________________ Chapter _____                                                                   Check if this is an
                                                                                                                                           amended filing




    Official Form 201
    Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                         06/22

    If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor’s name and the case
    number (if known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.




     1.   Debtor’s name                               Condor II, LLC
                                                  ______________________________________________________________________________________________________




     2.   All other names debtor used             ______________________________________________________________________________________________________
          in the last 8 years                     ______________________________________________________________________________________________________
                                                  ______________________________________________________________________________________________________
          Include any assumed names,
                                                  ______________________________________________________________________________________________________
          trade names, and doing business
          as names                                ______________________________________________________________________________________________________




     3.   Debtor’s federal Employer               ___ ___ – ___ ___ ___ ___ ___ ___ ___
          Identification Number (EIN)



     4.   Debtor’s address                        Principal place of business                                 Mailing address, if different from principal place
                                                                                                              of business

                                                      700 Milam Street
                                                  ______________________________________________
                                                                                                               1501 S. Mopac Expressway, Suite 220
                                                                                                              _______________________________________________
                                                  Number     Street                                           Number     Street

                                                      Suite 1300
                                                  ______________________________________________              _______________________________________________
                                                                                                              P.O. Box

                                                      Houston, Texas 77002
                                                  ______________________________________________
                                                                                                               Austin, Texas 78746
                                                                                                              _______________________________________________
                                                  City                        State    ZIP Code               City                      State      ZIP Code


                                                                                                              Location of principal assets, if different from
                                                                                                              principal place of business
                                                      Harris
                                                  ______________________________________________
                                                  County                                                      _______________________________________________
                                                                                                              Number     Street

                                                                                                              _______________________________________________

                                                                                                              _______________________________________________
                                                                                                              City                      State      ZIP Code




     5.   Debtor’s website (URL)                  ____________________________________________________________________________________________________




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    Debtor         Condor II, LLC
                  _______________________________________________________                       Case number (if known)_____________________________________
                  Name




     6.   Type of debtor                       Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                               Partnership (excluding LLP)
                                               Other. Specify: __________________________________________________________________

                                              A. Check one:
     7.   Describe debtor’s business
                                               Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                               Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                               Railroad (as defined in 11 U.S.C. § 101(44))
                                               Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                               Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                               Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                               None of the above

                                              B. Check all that apply:

                                               Tax-exempt entity (as described in 26 U.S.C. § 501)
                                               Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C.
                                                 § 80a-3)
                                               Investment advisor (as defined in 15 U.S.C. § 80b-2(a)(11))

                                              C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                                 http://www.uscourts.gov/four-digit-national-association-naics-codes .
                                                  2 ___
                                                 ___ 2 ___
                                                        1 ___
                                                           1
     8.   Under which chapter of the          Check one:
          Bankruptcy Code is the
          debtor filing?                       Chapter 7
                                               Chapter 9
                                               Chapter 11. Check all that apply:
          A debtor who is a “small business
          debtor” must check the first sub-                  The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its
          box. A debtor as defined in                             aggregate noncontingent liquidated debts (excluding debts owed to insiders or
          § 1182(1) who elects to proceed                         affiliates) are less than $3,024,725. If this sub-box is selected, attach the most
          under subchapter V of chapter 11                        recent balance sheet, statement of operations, cash-flow statement, and federal
          (whether or not the debtor is a                         income tax return or if any of these documents do not exist, follow the procedure in
          “small business debtor”) must                           11 U.S.C. § 1116(1)(B).
          check the second sub-box.                            The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate
                                                                  noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are
                                                                  less than $7,500,000, and it chooses to proceed under Subchapter V of
                                                                  Chapter 11. If this sub-box is selected, attach the most recent balance sheet,
                                                                  statement of operations, cash-flow statement, and federal income tax return, or if
                                                                  any of these documents do not exist, follow the procedure in 11 U.S.C.
                                                                  § 1116(1)(B).

                                                               A plan is being filed with this petition.
                                                               Acceptances of the plan were solicited prepetition from one or more classes of
                                                                  creditors, in accordance with 11 U.S.C. § 1126(b).

                                                               The debtor is required to file periodic reports (for example, 10K and 10Q) with the
                                                                  Securities and Exchange Commission according to § 13 or 15(d) of the Securities
                                                                  Exchange Act of 1934. File the Attachment to Voluntary Petition for Non-Individuals Filing
                                                                  for Bankruptcy under Chapter 11 (Official Form 201A) with this form.

                                                               The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule
                                                                  12b-2.
                                               Chapter 12




      Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                               page 2
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    Debtor          Condor II, LLC
                   _______________________________________________________                      Case number (if known)_____________________________________
                   Name



     9.   Were prior bankruptcy cases         No
          filed by or against the debtor
          within the last 8 years?            Yes. District _______________________ When _______________ Case number _________________________
                                                                                                 MM / DD / YYYY
          If more than 2 cases, attach a
          separate list.                               District _______________________ When _______________ Case number _________________________
                                                                                             MM / DD / YYYY

     10. Are any bankruptcy cases             No
          pending or being filed by a
          business partner or an                            See Addendum
                                              Yes. Debtor _____________________________________________ Relationship _________________________
          affiliate of the debtor?                     District _____________________________________________ When               __________________
          List all cases. If more than 1,                                                                                        MM / DD / YYYY
          attach a separate list.                      Case number, if known ________________________________



     11. Why is the case filed in this       Check all that apply:
          district?
                                              Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days
                                                 immediately preceding the date of this petition or for a longer part of such 180 days than in any other
                                                 district.

                                              A bankruptcy case concerning debtor’s affiliate, general partner, or partnership is pending in this district.

     12. Does the debtor own or have          No
          possession of any real              Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
          property or personal property
          that needs immediate                        Why does the property need immediate attention? (Check all that apply.)
          attention?
                                                       It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                          What is the hazard? _____________________________________________________________________

                                                       It needs to be physically secured or protected from the weather.
                                                       It includes perishable goods or assets that could quickly deteriorate or lose value without
                                                          attention (for example, livestock, seasonal goods, meat, dairy, produce, or securities-related
                                                          assets or other options).

                                                       Other _______________________________________________________________________________


                                                      Where is the property?_____________________________________________________________________
                                                                                Number          Street

                                                                                ____________________________________________________________________

                                                                                _______________________________________         _______ ________________
                                                                                City                                            State ZIP Code


                                                      Is the property insured?
                                                       No
                                                       Yes. Insurance agency ____________________________________________________________________
                                                               Contact name     ____________________________________________________________________

                                                               Phone            ________________________________




                  Statistical and administrative information




      Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                page 3
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    Debtor        Condor II, LLC
                  _______________________________________________________                             Case number (if known)_____________________________________
                  Name




     13. Debtor’s estimation of                Check one:
         available funds                        Funds will be available for distribution to unsecured creditors.
                                                After any administrative expenses are paid, no funds will be available for distribution to unsecured creditors.

                                                1-49                               1,000-5,000                                25,001-50,000
     14. Estimated number of
                                                50-99                              5,001-10,000                               50,001-100,000
         creditors1
                                                100-199                            10,001-25,000                              More than 100,000
                                                200-999

                                                $0-$50,000                         $1,000,001-$10 million                     $500,000,001-$1 billion
     15. Estimated assets
                                                $50,001-$100,000                   $10,000,001-$50 million                    $1,000,000,001-$10 billion
                                                $100,001-$500,000                  $50,000,001-$100 million                   $10,000,000,001-$50 billion
                                                $500,001-$1 million                $100,000,001-$500 million                  More than $50 billion

                                                $0-$50,000                         $1,000,001-$10 million                     $500,000,001-$1 billion
     16. Estimated liabilities
                                                $50,001-$100,000                   $10,000,001-$50 million                    $1,000,000,001-$10 billion
                                                $100,001-$500,000                  $50,000,001-$100 million                   $10,000,000,001-$50 billion
                                                $500,001-$1 million                $100,000,001-$500 million                  More than $50 billion


                  Request for Relief, Declaration, and Signatures


     WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to
                $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.


     17. Declaration and signature of              The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this
         authorized representative of
                                                    petition.
         debtor
                                                   I have been authorized to file this petition on behalf of the debtor.

                                                   I have examined the information in this petition and have a reasonable belief that the information is true and
                                                    correct.


                                               I declare under penalty of perjury that the foregoing is true and correct.

                                                                 08/11/2023
                                                   Executed on _________________
                                                               MM / DD / YYYY


                                                  _____________________________________________                Mark A. McDermott
                                                                                                                _______________________________________________
                                                   Signature of authorized representative of debtor             Printed name

                                                          Authorized Person
                                                   Title _________________________________________




              1         The estimated number of creditors and estimated amounts of assets and liabilities are being listed
                        on a consolidated basis for the Debtor and its debtor affiliates, identified on the addendum attached
                        hereto.
      Official Form 201                            Voluntary Petition for Non-Individuals Filing for Bankruptcy                                  page 4
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    Debtor        Condor II, LLC
                 _______________________________________________________                     Case number (if known)_____________________________________
                 Name




     18. Signature of attorney
                                            /s/ Matthew D. Cavenaugh
                                               _____________________________________________            Date          08/11/2023
                                                                                                                      _________________
                                               Signature of attorney for debtor                                       MM   / DD / YYYY



                                              Matthew     D. Cavenaugh
                                              _________________________________________________________________________________________________
                                              Printed name
                                               Jackson Walker LLP
                                              _________________________________________________________________________________________________
                                              Firm name
                                               1401 McKinney Street, Suite 1400
                                              _________________________________________________________________________________________________
                                              Number     Street
                                                Houston
                                              ____________________________________________________            TX           77010
                                                                                                              ____________ ______________________________
                                              City                                                            State          ZIP Code

                                               713-752-4284
                                              ____________________________________                            mcavenaugh@jw.com
                                                                                                              __________________________________________
                                              Contact phone                                                   Email address



                                               24062656                                                       Texas
                                              ______________________________________________________ ____________
                                              Bar number                                             State




      Official Form 201                        Voluntary Petition for Non-Individuals Filing for Bankruptcy                               page 5
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     Fill in this information to identify the case and this filing:


                   Condor II, LLC
     Debtor Name __________________________________________________________________

                                                Southern                           Texas
     United States Bankruptcy Court for the: ______________________ District of __________
                                                                                   (State)
     Case number (If known):    _________________________




    Official Form 202
    Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                    12/15

    An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit
    this form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document,
    and any amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the
    document, and the date. Bankruptcy Rules 1008 and 9011.

    WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
    connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
    1519, and 3571.



                Declaration and signature



             I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or
             another individual serving as a representative of the debtor in this case.

             I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:


              Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
              Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
              Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
              Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
              Schedule H: Codebtors (Official Form 206H)
              Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
              Amended Schedule ____

              Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
                                                          List of equity security holders and statement of corporate ownership
              Other document that requires a declaration__________________________________________________________________________________



            I declare under penalty of perjury that the foregoing is true and correct.


            Executed on 08/11/2023
                        ______________                            _________________________________________________________________________
                               MM / DD / YYYY                       Signature of individual signing on behalf of debtor



                                                                     Mark A. McDermott
                                                                    ________________________________________________________________________
                                                                    Printed name


                                                                    Authorized Person
                                                                    ______________________________________
                                                                    Position or relationship to debtor



    Official Form 202                             Declaration Under Penalty of Perjury for Non-Individual Debtors
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                                                             SCHEDULE 1

                      Pending Bankruptcy Cases Filed by the Debtor and Affiliates of the Debtor

                    On the date hereof, each of the entities listed below (collectively, the "Debtors") filed a
            petition in this court for relief under chapter 11 of title 11 of the United States Code. The
            Debtors have moved for joint administration of these cases under the case number assigned to
            the chapter 11 case of Cóndor Inversiones SpA.

                                                     Cóndor Inversiones SpA
                                                     Huemul Inversiones SpA
                                                        Condor II, LLC
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                                    IN THE UNITED STATES BANKRUPTCY COURT
                                      FOR THE SOUTHERN DISTRICT OF TEXAS
                                               HOUSTON DIVISION

            ------------------------------------------------------------ x
            In re:                                                       :
                                                                         :   Chapter 11
                                                                         :
            Condor II, LLC,                                              :   Case No. 23– ________ (       )
                                                                         :
                              Debtor.                                    :   (Joint Administration Requested)
                                                                         :
            ------------------------------------------------------------ x

                     CORPORATE OWNERSHIP STATEMENT AND LIST OF EQUITY
                INTEREST HOLDERS PURSUANT TO FED. R. BANKR. P. 1007(a)(1) AND 7007.1

                  Pursuant to Rules 1007(a)(1) and 7007.1 of the Federal Rules of Bankruptcy Procedure,
            Condor II, LLC states as follows:

                                                      Name and Address of Corporate             Percentage of
                           Entity
                                                                   Owner                        Interests Held
                                                           Cóndor Inversiones SpA
                                                          Avenida Apoquindo 4800
                      Condor II, LLC                      Torre Dos Piso 15, 1501-A                  50%
                                                      Las Condes, Santiago, XIII Region
                                                        Metropolitana, Chile, 7560973
                                                           Huemul Inversiones SpA
                                                          Avenida Apoquindo 4800
                      Condor II, LLC                      Torre Dos Piso 15, 1501-A                  50%
                                                      Las Condes, Santiago, XIII Region
                                                        Metropolitana, Chile, 7560973
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        Fill in this information to identify the case:

                      Condor II, LLC
        Debtor name __________________________________________________________________

                                             Southern                            Texas
        United States Bankruptcy Court for the: ______________________ District of _________

        Case number (If known):   _________________________
                                                                                (State)
                                                                                                                                             Check if this is an
                                                                                                                                                amended filing




      Official Form 204
      Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest
      Unsecured Claims and Are Not Insiders                                                                                                                  12/15

      A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the debtor
      disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not include claims by
      secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor among the holders of the 20
      largest unsecured claims.


       Name of creditor and complete          Name, telephone number, and      Nature of the claim   Indicate if   Amount of unsecured claim
       mailing address, including zip code    email address of creditor        (for example, trade   claim is      If the claim is fully unsecured, fill in only unsecured
                                              contact                          debts, bank loans,    contingent, claim amount. If claim is partially secured, fill in
                                                                               professional          unliquidated, total claim amount and deduction for value of
                                                                               services, and         or disputed collateral or setoff to calculate unsecured claim.
                                                                               government
                                                                               contracts)
                                                                                                                     Total claim, if   Deduction for      Unsecured
                                                                                                                     partially         value of           claim
                                                                                                                     secured           collateral or
                                                                                                                                       setoff

  1
         - None -

  2




  3




  4




  5




  6




  7




  8




      Official Form 204           Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims                                  page 1
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      Debtor
                    Condor II, LLC
                   _______________________________________________________                       Case number (if known)_____________________________________
                   Name




       Name of creditor and complete         Name, telephone number, and   Nature of the claim    Indicate if   Amount of unsecured claim
       mailing address, including zip code   email address of creditor     (for example, trade    claim is      If the claim is fully unsecured, fill in only unsecured
                                             contact                       debts, bank loans,     contingent, claim amount. If claim is partially secured, fill in
                                                                           professional           unliquidated, total claim amount and deduction for value of
                                                                           services, and          or disputed collateral or setoff to calculate unsecured claim.
                                                                           government
                                                                           contracts)
                                                                                                                  Total claim, if   Deduction for      Unsecured
                                                                                                                  partially         value of           claim
                                                                                                                  secured           collateral or
                                                                                                                                    setoff

  9




  10




  11




  12




  13




  14




  15




  16




  17




  18




  19




  20




      Official Form 204           Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims                                  page 2
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                                        CONDOR II, LLC
                    UNANIMOUS WRITTEN CONSENT OF THE MEMBERS
                                    IN LIEU OF A MEETING
                                         August 9, 2023


          The undersigned, being all of the members (the “Members”) of Condor II, LLC, a limited
liability company organized and existing under the laws of the State of Texas (the “Company”),
do hereby consent, pursuant to Section 6.201 of the Texas Business Organizations Code (the
“TBOC”), to the adoption of the following resolutions with the same force and effect as if such
resolutions had been adopted at a duly convened meeting of the Members (this “Written
Consent”).

       Chapter 11 Filing

       WHEREAS, the administrators of each of the Members (the “Administrators”) held special
meetings of administrators of each of the Members on August 4 and 8, 2023 (the “Special
Meetings”) to discuss the following matters: (a) analysis of the economic and financial situation of
each such Member and adoption of urgent measures; (b) execution of certain agreements; (c)
formation of the Company as a Texas limited liability company; and (d) that the Members and the
Company seek relief under Chapter 11 of the US Bankruptcy Code or in any other appropriate
forum.

        WHEREAS, the Administrators at the Special Meetings reviewed the economic and
financial background of each respective Member and the accompanying records in the bankruptcy
reorganization court proceedings before the 6th Civil Court of Santiago, Chile and the 15th Civil
Court of Santiago, Chile, pursuant to cases Rol C-12.429-2023 and Rol C-12.426-2023,
respectively, as well as other publicly available information. These records illustrate the current
complex and deteriorated financial situation of the Members and their respective subsidiaries.

        WHEREAS, the Administrators acknowledged at the Special Meetings that each of the
Members acted as co-debtors and joint guarantors of Denef Investments, S.L.U. (the sole
shareholder of each of the Members) under the terms and conditions established in the contract
referred to as the “Credit and Guarantee Agreement,” executed by means of a private instrument
dated September 17, 2020, among Mainstream Renewable Power Mezzanine Finance DAC,
Denef Investments, S.L.U., Cóndor Inversiones SpA, Huemul Inversiones SpA and Wilmington
Trust, National Association (the “Credit Agreement”). In relation to the foregoing, the
Administrators have been made aware of the occurrence of an “Event of Default” or “Events of
Default,” as defined in the Credit Agreement, on the part of Denef Investments, S.L.U. regarding
Wilmington Trust, National Association, in the amount of US$280,000,000 for capital plus accrued
interest, which further demonstrates the Members’ and consequently the Company’s complex
financial situation.

        WHEREAS, for the analysis of the financial and economic situation of the Members and
the Company at the Special Meetings, the Administrators have: (a) regularly and carefully
reviewed the materials and other information presented by each Member’s advisors regarding
each such Member’s business conditions, its operations, its current and projected financial
position and other relevant information; (b) thoroughly evaluated each Member’s and the
Company’s strategic alternatives, including a possible restructuring; (c) conferred extensively with
each Member’s advisors regarding these matters; and (d) determined that the filing of voluntary
petitions under Chapter 11 of the US Bankruptcy Code by each Member and the Company is in
the best interests of each such Member and the Company.
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       NOW, THEREFORE, BE IT RESOLVED, that in the judgment of the Members it is
desirable and in the best interests of the Company to seek relief under Chapter 11 of the US
Bankruptcy Code or in any other appropriate forum (the “Chapter 11 Case”).

        FURTHER RESOLVED, that each Authorized Person (as defined below) shall be, and
each of them hereby is, authorized to file voluntary petitions (the “Petitions”) to initiate the Chapter
11 Case, in the United States Bankruptcy Court for the Southern District of Texas or such other
court as each Authorized Person shall determine to be appropriate (the “Bankruptcy Court”) and
perform any and all such acts as are reasonable, advisable, expedient, convenient, proper or
necessary to effect the foregoing, the performance of such acts to constitute conclusive evidence
of the reasonableness, advisability, expedience, convenience, appropriateness or necessity
thereof.

        FURTHER RESOLVED, that each Authorized Person shall be, and each of them hereby
is, authorized, directed and empowered, in the name and on behalf of the Company and its
Members, to: (a) execute, acknowledge, deliver and verify the Petitions and all other ancillary
documents, and cause the Petitions to be filed with the Bankruptcy Court, as appropriate, and
make or cause to be made prior to execution thereof any modifications to the Petitions or ancillary
documents as any such Authorized Person, in such person’s discretion, deems necessary,
desirable or appropriate to carry out the intent and accomplish the purposes of these resolutions;
(b) execute, acknowledge, deliver, verify and file or cause to be filed all petitions, schedules,
statements, lists, motions, applications and other papers or documents necessary or desirable in
connection with the foregoing; (c) execute, acknowledge, deliver and verify any and all other
documents necessary, desirable or appropriate in connection therewith and to administer the
Chapter 11 Case in such form or forms as any such Authorized Person may approve; and the
actions of any Authorized Person taken pursuant to this resolution, including the execution,
acknowledgment, delivery and verification of the Petitions and all ancillary documents and all
other agreements, certificates, instruments, guaranties, notices and other documents, shall be
conclusive evidence of such Authorized Person’s approval and the necessity, desirability or
appropriateness thereof; and (d) to take any action as may be deemed necessary, desirable or
appropriate to carry out the intent of this resolution, including the filing of the Petitions and any
ancillary documents.

        FURTHER RESOLVED, that the Authorized Persons shall be, and each of them
individually hereby is, authorized, directed and empowered, in the name and on behalf of the
Company, to retain: (a) Jones Day; (b) Jackson Walker LLP; (c) Guerrero Iturra Abogados; and
(d) such additional professionals, including attorneys, accountants, financial advisors, investment
bankers, actuaries, consultants, experts, agents or brokers (together with the foregoing identified
firms, the “Professionals”), in each case as in any such Authorized Person’s judgment may be
necessary, desirable or appropriate in connection with the Chapter 11 Case and other related
matters, on such terms as such Authorized Person or Authorized Persons shall approve and such
Authorized Person’s retention thereof to constitute conclusive evidence of such Authorized
Person’s approval and the necessity, desirability or appropriateness thereof.

      FURTHER RESOLVED, that the law firms of Jones Day, Jackson Walker LLP and
Guerrero Iturra Abogados and any additional special or local counsel selected by the Authorized
Persons, if any, shall be, and hereby are, authorized, empowered and directed to represent the
Company and each of its Members, as debtor and debtor in possession, in connection with the
Chapter 11 Case or any other restructuring proceedings commenced by or against the Company




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or any of its Members under the US Bankruptcy Code or in any other appropriate forum in which
the Company or any of its Members may seek recognition.

        FURTHER RESOLVED, that in addition to the specific authorizations heretofore conferred
upon the Authorized Persons, each Authorized Person be, and hereby is, authorized with full
power of delegation, in the name and on behalf of the Company and its Members, to take or cause
to be taken any and all such further actions and to execute and deliver or cause to be executed
or delivered, and to amend, supplement or otherwise modify from time to time, any and all such
agreements, documents certificates, instruments, statements, notices, undertakings,
amendments and other writings, and to incur and to pay or direct payment of all such fees and
expenses, including filing fees, as in the judgment of the Authorized Person shall be necessary,
desirable or appropriate to effectuate the purpose and intent of any and all of the foregoing
resolutions adopted herein.

        FURTHER RESOLVED, that the signature of any Member or Authorized Person may, but
need not, be a facsimile or electronic signature imprinted or otherwise reproduced on the
documents, and for that purpose the Company hereby adopts as binding upon it the facsimile
signature of any present or future Member or Authorized Person, notwithstanding the fact that at
the time the documents shall be executed, authenticated or delivered or disposed of such person
shall have ceased to be a Member or Authorized Person of the Company and that, in case any
Member or Authorized Person of the Company whose facsimile signature shall appear on the
documents shall cease to hold such office before the documents have been executed,
authenticated and delivered or disposed of by the Company, such documents nevertheless may
be executed, authenticated and delivered or disposed of and such documents shall be valid as
though such person had not ceased to hold such position with the Company; and that any such
documents as shall have been so executed, authenticated, delivered or disposed of are hereby
adopted by the Company as its binding obligations.

        FURTHER RESOLVED, that all acts lawfully done or actions lawfully taken by any
Authorized Person, or at the direction of an Authorized Person, or by any of the Professionals at
the direction of an Authorized Person, in connection with the Chapter 11 Case or any proceedings
related thereto, or any matter related thereto, be, and hereby are, adopted, ratified, confirmed and
approved in all respects as the acts and deeds of the Company.

       FURTHER RESOLVED, that any and all lawful actions and transactions by any Authorized
Person, or at the direction of an Authorized Person, for and on behalf and in the name of the
Company with respect to any transactions contemplated by the foregoing resolutions, before the
adoption of the foregoing resolutions be, and they hereby are, ratified, authorized, approved,
adopted and consented to in all respects for all purposes.

       FURTHER RESOLVED, that the secretary and/or any Authorized Person hereby are
authorized and directed to certify and/or attest to these resolutions, certificate of incumbency and
such other documents or instruments that the secretary of the Company may deem necessary or
appropriate in connection with the foregoing matters; provided, however, that such certification
and/or attestation shall not be required for any document, instrument or agreement to be valid
and binding on the Company.

      FURTHER RESOLVED, that for the purposes of these resolutions, the term “Authorized
Person” shall mean and include any of the following individuals: (a) Alan Jeffrey Carr; (b) Mark
Alan Mc Dermott; and (c) Daniel Gregory Katz.

       Electronic Signature

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                 RESOLVED, that this Written Consent may be transmitted to the Company
electronically, in which event the electronic signature shall have the same effect as an original
signature.

                                       [Signature Page Follows]




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                             IN WITNESS WHEREOF, the undersigned have executed this Written Consent as
            of the date first written above.


                                                             CÓNDOR INVERSIONES SPA, a Chilean
                                                             corporation


                                                             By:
                                                                   Name: Alan Jeffrey Carr
                                                                   Title: Administrator


                                                             By:
                                                                   Name: Mark Alan Mc Dermott
                                                                   Title: Administrator



                                                             HUEMUL INVERSIONES SPA, a Chilean
                                                             corporation


                                                             By:
                                                                   Name: Alan Jeffrey Carr
                                                                   Title: Administrator


                                                             By:
                                                                   Name: Mark Alan Mc Dermott
                                                                   Title: Administrator
